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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

KRISTEN SHEA, INDIVIDUALLY, and ; CIVIL ACTION NO.
TYLER SHEA, PPA KRISTEN SHEA, : 3:21-CV-00673-JCH
Plaintiffs, :

V.

CHATERAM SIEUNARINE and
CHET TRANSPORT, LLC,

Defendants. MAY 13, 2022

MOTION TO DETERMINE SUFFICIENCY OF DEFENDANTS’
RESPONSES TO PLAINTIFFS’ REQUESTS FOR ADMISSION OF
FACT AND REQUEST FOR ADMISSION OF DOCUMENT

The plaintiffs, Kristen and Tyler Shea, respectfully request,
pursuant to Fed. R. Civ. P. 36(a)(6), that the Court determine the sufficiency of
the defendants’ responses to several requests for admission of facts and their
response to a request for admission of document. Despite bona fide efforts on
the part of counsel for the parties to resolve disagreements over the defendants’
responses, counsel has been unable to arrive at an agreement. The plaintiffs
therefore ask that the Court determine the sufficiency of the Defendants’

Responses to Plaintiffs’ First Request for Admission of Fact dated May 6, 2022

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(attached as Exhibit A to the accompanying Memorandum of Law) Nos. 2, 3, 4,
5, 6, 7, 8, 10, and 12, and the Defendants’ Responses to Plaintiff’s First
Request for Admission of Document dated May 6, 2022 (attached as Exhibit B
to the accompanying Memorandum of Law) No. 1.

As set forth more fully in the accompanying memorandum of law, the
defendants should be compelled to admit, deny or revise their responses to the

aforementioned requests.

PRO

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CERTIFICATION:

This is to certify that a copy of the foregoing was emailed or mailed postage
prepaid to the following on May 13, 2022:

Mathew W. Beckwith
Melick & Porter, LLP
900 Main Street South
Southbury, CT 06

Lie

CLENDENEN & SHEA, LLC

